        Case 7:17-cv-01961-LSC Document 30 Filed 01/31/18 Page 1 of 2                  FILED
                                                                              2018 Jan-31 PM 02:54
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION


MARIAN SNOW,                            )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )          7:17-cv-01961-LSC
                                        )
GENERAL ELECTRIC                        )
COMPANY, ET AL.                         )
                                        )
      Defendants.                       )


                                    ORDER

      Before this Court is Defendant General Electric Company’s Motion to

Dismiss (doc. 25) and Defendants’, Dell Technologies Inc., Dell Inc., and Dell

EMC (collectively “Dell Defendants”), Motion to Dismiss. (Doc. 26.) Plaintiff

has fifteen (15) days from the date of this Order to respond to the Motions.

Plaintiff’s response shall not exceed twenty (20) double-spaced pages. Defendants

will thereafter have ten (10) days to file a reply, not to exceed ten (10) double-

spaced pages. The type size for all submissions must be at least 14 points, except

that footnotes may be in 12-point type. After the briefing period has expired, the



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Court will take Defendants’ motions under consideration without further notice to

the parties.

      DONE and ORDERED on January 31, 2018.



                                            _____________________________
                                                    L. Scott Coogler
                                               United States District Judge
                                                                              190685




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